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 PATRICIA S. DODSZUWEIT         UNITED STATES COURT OF APPEALS                    TELEPHONE
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                                       PHILADELPHIA, PA 19106-1790
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                                          January 11, 2023
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RE: Epsilon Energy USA Inc. v. Chesapeake Appalachia LLC
Case Number: 22-1280/22-1376
District Court Case Number: 1-21-cv-00658

Dear Counsel:

The Court has directed me to advise counsel in the above-entitled case that oral argument
on the merits is scheduled on Wednesday, January 25, 2023. Counsel will be allotted 15
minutes oral argument time for each side, pursuant to 3rd LAR 34.1 (a). Court will
convene at 9:30 am and argument in this matter is scheduled in The Albert Branson
Maris Courtroom, (19th Floor, U.S. Courthouse, 6th & Market Sts., Philadelphia,
PA.) Counsel who will present oral argument should register with the Court Crier in the
courtroom 30 minutes prior to the time when court is scheduled to convene.

Counsel should read the instructions for oral argument. If multiple parties are arguing for
each side, counsel shall file a division of time form (a writeable form), if necessary,
through CM/ECF.
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Appellants and Appellees are asked to provide a very brief summary of the issues in the
case by docketing the Summary of Oral Argument event, located in the Argument
Notices & Acknowledgements category, within five (5) days. This is part of a program
to provide the public with information about the Court’s cases. Both summaries will be
posted on the Court internet site prior to the argument date.

Audio of all arguments are posted on the Court’s internet website shortly after the
conclusion of arguments for the day. In addition, the Court may direct that video of oral
argument 1 in cases that are of significant interest to the public, the bar or the academic
community be posted on the website. In order to assist the Court in this determination,
Appellants and Appellees will be asked when providing the summary of oral argument
whether they recommend that video be posted or whether they object to the posting of
video. Whether video is posted is within the sole discretion of the judges hearing oral
argument. The panel of the Court will determine after oral argument whether video of
any argument should be posted. Attorneys will be notified if video will be posted and
given a further opportunity to object by close of business the next day.

Pursuant to IOP Chapter 2, you are hereby advised that your appeal will be argued before
the following panel: HARDIMAN, KRAUSE and MATEY, Circuit Judges

Very truly yours,



PATRICIA S. DODSZUWEIT
Clerk


By:
Patrick A. McCauley, Jr.,
Calendar Clerk
267-299-4932




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 Only arguments scheduled in the Albert Branson Maris and Collins J. Seitz courtrooms in Philadelphia, PA are
video recorded.
